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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       :       Honorable William H. Walls

         v.                                    :       Criminal No. 10-5 17 (WHW)

FRANCESCO “FRANK” GUARRACI,
and MICHAEL NOBILE

                                                       ORDER FOR CONTINUANCE


       This matter having been opened to the Court by Paul J. Fishman, United States Attorney for

the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing), and

defendants MICHAEL NOBILE (Scott E. Leemon, Esq., appearing) and FRANCESCO “FRANK”

GUARRACI (John P. McDonald, Esq., appearing), for an order granting a continuance of the

proceedings in the above-captioned matter; and the defendants being aware that they have the right

under 18 U.S.C. § 3161(b) to have the matter brought to trial within seventy (70) days of the date

of their appearance before ajudicial officer of this court pursuant to Title 18 U.S.C. § 3161; and the

defendants through their attorneys having waived such rights and consented to the continuance; and

for good and sufficient cause shown,

       IT IS THE FINDING OF THIS COURT that this action should be continued for the

following reasons:

               1.      Plea negotiations are currently in progress, and both the United States and

       the defendants desire additional time to negotiate a plea agreement, which would render trial

       of this matter unnecessary;

               2.      Defendants have consented to the aforementioned continuance;

               3.      Pursuant to Title 18 of the United States Code, Section 3161 (h)(8), the ends

       ofjustice served by granting the continuance outweigh the best interests ofthe public and the

       defendants in a speedy trial.
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